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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF IDAHO

PAM POE, by and through her
parents and next friends, et al.
                                               Case No. 1:23-cv-00269-BLW
                    Plaintiffs,
                                               REPLY IN SUPPORT OF MOTION TO
v.                                             DISMISS

RAÚL LABRADOR, in his official
capacity as Attorney General of the State
of Idaho, et al.

                    Defendants.
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                                    INTRODUCTION

      The Attorney General and members of the Idaho Code Commission (here,

“Defendants”) submit this reply to address two critical flaws in Plaintiffs’ opposition

to the motion to dismiss—one as to jurisdiction, and the other on the merits.

      First, as to jurisdiction, Plaintiffs devote most of their attention to the Attorney

General, who asserts his immunity and Plaintiffs’ lack of standing for the reasons

argued in Planned Parenthood v. Labrador (and which he will not repeat here

pending appeal, see No. 23-35518 (9th Cir.)). But Plaintiffs’ brief has precious little

to say about their claims against the members of the Idaho Code Commission. They

do not identify any enforcement authority the Commission has or any caselaw

allowing lawsuits against state officials responsible for publishing statutory law. So

the claims against the Commission fail for sovereign immunity and lack of standing.

      Second, Plaintiffs incorrectly assert that Defendants did not move on the

merits of their claims just because Defendants cited evidence outside the pleadings.

But the fact that Defendants made some arguments based on the factual record to

oppose the preliminary injunction motion does not relieve Plaintiffs of having to

respond to the arguments that go entirely to the legal validity of their claims (Point

II.A and II.B in Defendants’ brief). And on those points, Plaintiffs offer no rejoinder.

In fact, since Defendants filed their motion, the legal defects in Plaintiffs’ claims have

grown only more clear, as shown by the Sixth Circuit’s decision on the merits in L.W.

v. Skrmetti, ___ F.4th ___, 2023 WL 6321688 (6th Cir. Sept. 28, 2023).

      The Court should therefore dismiss this action as to the Attorney General and

the Idaho Code Commission for lack of jurisdiction and failure to state a claim.


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                                     ARGUMENT

I.     The Court lacks jurisdiction.

       The members of the Idaho Code Commission have Eleventh Amendment

immunity and Plaintiffs lack standing to sue them. Plaintiffs cite no authority that

would allow them to seek an injunction against state officers responsible solely for

publishing the law as enacted by the legislature. The Court should dismiss these

claims for lack of jurisdiction.

       To lawfully sue members of the Idaho Code Commission under the Eleventh

Amendment, Ex parte Young requires Plaintiffs to show that the Commission’s

members “are clothed with some duty in regard to the enforcement of the laws of the

state, and … threaten and are about to commence proceedings ... to enforce against

parties affected [by] an unconstitutional act[.]” Ex parte Young, 209 U.S. at 155–56.

This requires a “special relation” between the official and enforcement of the law that

is “fairly direct”—thus, “a generalized duty to enforce state law” is not enough. Los

Angeles Cnty. Bar Ass’n v. Eu, 979 F.2d 697, 704 (9th Cir. 1992). And in the pre-

enforcement context, standing turns on the same thing: whether “the prosecuting

authorities have communicated a specific warning or threat to initiate proceedings”

against the Plaintiffs. Twitter, Inc. v. Paxton, 56 F.4th 1170, 1174 (9th Cir. 2022).

       Plaintiffs do not meet these standards. They do not allege the Commission has

threatened anything, because they do not allege it has any authority to enforce the

Vulnerable Child Protection Act, much less a “special relation” to it. Instead, they

assert only that the Commission “is tasked with keeping the Idaho Code up to date,

indicating changes to laws, providing annotations to the Code, and providing


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references in the Code to decisions of the federal courts.” Dkt. 61 at 5. In that regard,

the Commission has the same relation to all sections of the Idaho Code—the relation

of publisher, not enforcer. So in essence, Plaintiffs wish to prohibit state officials from

performing the ministerial function of even publishing the law the legislature

enacted. That is not a suit to enjoin an official’s enforcement of an unconstitutional

law; it is an unlawful attempt “to enjoin challenged laws themselves.”              Whole

Woman’s Health v. Jackson, 595 U.S. 30, 44 (2021) (quotation omitted). Article III

courts “do not remove—‘erase’—from legislative codes unconstitutional provisions.”

Arizona v. Biden, 40 F.4th 375, 396 (6th Cir. 2022) (Sutton, C.J., concurring) (citation

omitted).

       Plaintiffs’ attempt to sue the Commission is foreclosed by the Supreme Court’s

decision in Whole Woman’s Health, which rejected a similar attempt to sue state-court

clerks performing the ministerial function of docketing claims filed under a state

statute. Those state-court clerks were not proper defendants because they did “not

enforce state laws as executive officials might,” and they would not “be litigants

adverse to the petitioners” in any enforcement proceedings under the statute. Whole

Woman’s Health, 595 U.S. at 39–40. The same is true of the Commission: it does not

enforce the law and would not be capable of instituting proceedings against Plaintiffs

here. So just as “no case or controversy” exists “between a judge who adjudicates

claims under a statute and a litigant who attacks the constitutionality of the statute,”

Pulliam v. Allen, 466 U.S. 522, 538, n.18 (1984), no case or controversy exists with

officials who merely publish that statute. To hold otherwise would strangely task

officials who have only the ministerial duty of publishing the law with the substantive

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duty of defending its constitutionality. Whole Woman’s Health, 595 U.S. at 41. It

would also open the door to lawsuits against “those who perform other ministerial

tasks potentially related” to the legislative process—e.g., members of the legislative

services office. Id. This theory of suing state officials who have no enforcement

authority lacks “any meaningful limiting principles.” Id. at 40. The Court should

reject it.

       Plaintiffs do not cite any authority that has permitted such an exorbitant

assertion of federal judicial power over the “machinery” of state government. See id.

at 39, 41. And the authority they do cite is inapposite. For example, they rely on

Fourteenth Amendment vagueness cases. Dkt. 61 at 8. But they do not challenge

the Vulnerable Child Protection Act on vagueness grounds, and they cite no authority

extending vagueness principles to allow lawsuits against official code publishers.

Likewise, they cite anecdotes about officials who have enforced laws that were

declared unconstitutional, but that is an argument for injunctive suits against those

officials—not an argument for injunctive suits against those who merely publish the

law. See id. The Commission’s lack of any enforcement authority with respect to the

laws it publishes—much less the threat of such enforcement—entitles its members

to Eleventh Amendment immunity and precludes Plaintiffs from showing standing

to sue them.

II.    Plaintiffs fail to state a claim for relief.

       On the mistaken premise that Defendants did not challenge their claims on

the merits, Plaintiffs say nothing further in support of those legal theories. But

Plaintiffs’ claims fail as a matter of law for the reasons set forth in Point II.A and II.B

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of Defendants’ brief.     And the Sixth Circuit’s intervening decision in L.W. only

underscores the flaws in their claims as to several critical issues.

      Standards      of    constitutional    interpretation.     L.W.     addresses   the

fundamental interpretive problem at the heart of Plaintiffs’ claims—that they “do not

argue that the original fixed meaning of the due process or equal protection

guarantees covers these claims.”     2023 WL 6321688, at *5.           That “prompts the

question whether the people of this country ever agreed to remove debates of this

sort” from “the democratic process.” Id. “Life-tenured federal judges should be wary

of removing a vexing and novel topic of medical debate from the ebbs and flows of

democracy,” id., “particularly when ‘the States are currently engaged in serious,

thoughtful’ debates about the issue.” Id. at *6 (quoting Washington v. Glucksberg,

521 U.S. 702, 719 (1997)). As the Sixth Circuit observed, “nineteen States have laws”

that similarly bar irreversible treatments for gender dysphoria in minors—including

Idaho’s Vulnerable Child Protection Act. Id. (citing inter alia Idaho Code § 18-1506C).

“Prohibiting citizens and legislatures from offering their perspectives on high-stakes

medical policies, in which compassion for the child points in both directions, is not

something life-tenured federal judges should do without a clear warrant in the

Constitution.” Id. No such warrant exists.

      Substantive due process. There is no due process right to specific medical

treatments for children because “[t]his country does not have a ‘deeply rooted’

tradition of preventing governments from regulating the medical profession in

general or certain treatments in particular, whether for adults or their children.” Id.

at *7. To the contrary, “[s]tate and federal governments have long played a critical

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role in regulating health and welfare,” and they are entitled to a presumption of

validity, especially “in areas of ‘medical and scientific uncertainty.’” Id. (quoting

Gonzales v. Carhart, 550 U.S. 124, 163 (2007)). This rule guards against the risk that

federal courts will “assume authority over an area of policy that is not theirs to

regulate” or “impose a constitutional straightjacket on legislative choices before

anyone knows how that ‘medical and scientific uncertainty’ will play out.” Id. Thus,

the FDA may “permit drugs to be used for some purposes but not others, or to allow

some drugs to be used by adults but not by children,” and “[n]either doctors, adults,

nor their children have a constitutional right to use a drug that the FDA deems

unsafe or ineffective.” Id. at *8 (citing Abigail All. for Better Access to Developmental

Drugs v. von Eschenbach, 495 F.3d 695, 703, 706 (D.C. Cir. 2007) (en banc)). And

“[s]o long as a federal statute does not stand in the way and so long as an enumerated

constitutional guarantee does not apply, the States may regulate or ban medical

technologies they deem unsafe.” Id. (collecting cases). That is exactly what Idaho

has chosen to do here.

       Parental rights.      It is well established that states may “limit[] parental

freedom,” with respect to medical treatment. Id. (quoting Prince v. Massachusetts,

321 U.S. 158, 167 (1944)). “‘The state’s authority over children’s activities is broader

than over like actions of adults[,]’” and “[a] parent’s right to make decisions for a child

does not sweep more broadly than an adult’s right to make decisions for herself.” Id.

at *9 (quoting Prince, 321 U.S. at 168). Thus, if “[t]he government has the power to

reasonably limit the use of drugs” for adults, then that is “assuredly true for their

children.” Id. at *9. Likewise, the fact that Parham “allowed” states to defer to

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parents’ health decisions for their children did not establish “a constitutional

requirement” to “recognize such decisionmaking.” Id. at *10. And while a rational

basis allows states to “ban even longstanding and nonexperimental treatments for

children[,]” that is even more true for the experimental therapies here, where “some

of the same European countries that pioneered these treatments now express caution

about them and have pulled back on their use.” Id. at *10.

      Plaintiffs and their amici medical associations say that these treatments are

medically necessary and that the Constitution protects their rights to them. But to

draw constitutional boundaries as urged by medical associations “would mean that

the state and federal legislatures would lose authority to regulate the healthcare

industry whenever the subject of regulation—the medical profession and drug

companies—found such regulation unnecessary[.]” Id. at *12. “[E]xpert consensus,

whether in the medical profession or elsewhere, is not the North Star of substantive

due process, lest judges become spectators rather than referees in construing our

Constitution.” Id.

      Equal protection.       The Sixth Circuit also explained—as is equally true

here—that claims challenging regulations of gender dysphoria treatment did not

trigger equal protection class analysis either as to sex or as to gender identity issues.

As to purported sex-based classifications, it is well-established that “laws regulating

medical procedure[s] that only one sex can undergo ordinarily do not trigger

heightened constitutional scrutiny.” Id. at *14 (quotations omitted). The same is

true of the regulated treatments here as a matter of “biological necessity”: “only

females can use testosterone as a transition treatment,” and “only males can use

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estrogen as a transition treatment.” Id. And so “[i]f a law restricting a medical

procedure that applies only to women does not trigger heightened scrutiny,” then

“these laws, which restrict medical procedures unique to each sex, do not require such

scrutiny either.” Id. Nor could Plaintiffs argue that there was discrimination because

cross-sex hormones might be used to treat other conditions. “Using testosterone or

estrogen to treat gender dysphoria (to transition from one sex to another) is a

different procedure from using testosterone or estrogen to treat, say, Kleinfelter

Syndrome or Turner Syndrome (to address a genetic or congenital condition that

occurs exclusively in one sex).” Id. “These distinct uses of testosterone and estrogen

stem from different diagnoses and seek different results” and entail different “cost-

benefit analysis.” Id.

      Thus, the fact that these treatments are necessarily defined by sex does not

mean that regulating them discriminates based on sex. And “[w]hat is true for the

word ‘sex’” under Plaintiffs’ theory of discrimination “also would be true for the word

‘gender.’” Id. at *15. “One simply cannot define, or create, a protected class solely by

the nature of a denied medical benefit: in this instance childhood treatment for

gender dysphoria.” Id. And without triggering any equal protection analysis, the

laws easily survived rational basis review: “A state may reasonably conclude that a

treatment is safe when used for one purpose but risky when used for another,

especially when, as here, the treatment is being put to a relatively new use.” Id. at

*13. So too here.




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                                       CONCLUSION

       The Court should dismiss Plaintiffs’ claims for lack of jurisdiction and for

failure to state a claim for relief.



DATED: October 5, 2023.

                                           STATE OF IDAHO
                                           OFFICE OF THE ATTORNEY GENERAL


                                       By: /s/ Lincoln D. Wilson
                                           LINCOLN DAVIS WILSON
                                           Chief, Civil Litigation and
                                           Constitutional Defense




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                          CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on October 5, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent a Notice of
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